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 1
                                                                                Hon. Richard A. Jones
 2                                                                     Trial Date: NOT SCHEDULED
 3

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 7
                               UNITED STATES DISTRICT COURT
 8                            WESTERN DISTRICT OF WASHINGTON
                                        AT SEATTLE
 9

10     LARRY DEAN LAMBOURN,
                                                             NO. 2:22-cv-00373-RAJ
11                            Plaintiff,

12             vs.                                         NOTICE OF STAY OF
                                                           PROCEEDINGS DUE TO A
13     SENTINEL DREAM II HOLDINGS, LLC,                    BANKRUPTCY COURT’S
       MARC PFEFFERLE, ERIC D. BOMMER,                     INJUNCTION IN A NON-PARTY
14     STEVE CUMBOW, MATTHEW R. KAHN,                      BANKRUPTCY MATTER
       CHRIS BAKER, MICHAEL J. FABIAN,
15     ROSE RUIZ, JANE/JOHN DOES 1                         (Jury trial requested.)
       THROUGH 10, and THE MARITAL
16
       COMMUNITY OF EACH NONBUSINESS
17     DEFENDANT
                              Defendants.
18

19
                                           I.         VERIFICATION
20
            Plaintiff’s counsel did not meet and confer with any defense attorney as no defendant has
21
     appeared in this matter and because Plaintiff’s counsel believes filing a notice of stay is not
22
     discretionary in the present circumstances.
23
                                                II.    DISCUSSION
24
            Plaintiff filed this wage-claim lawsuit against the officers and directors of Hollander
25
     Sleep Products, LLC (“Hollander”) in their individual capacity separate and apart from
      NOTICE OF STAY OF PROCEEDINGS                         THE BARTON LAW FIRM
      DUE TO BANKRUPTCY INJUNCTION -                          1567 Highlands Dr NE Ste 110-34
      1                                                           Issaquah, WA 98029-6245
      NO. 2:22-cv-373                               (425) 243-7960 TheBartonLawFirm@GMail.com
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 1   Hollander’s liability for failure to pay plaintiff’s severance wages. Each officer and director is

 2   individually liable separate and apart from Hollander’s liability pursuant to RCW 49.52.050 and
 3   RCW 49.52.070, the latter of which states that “Any employer and any officer, vice principal or
 4
     agent of any employer” shall be liable for willfully withholding wages. Each officer and
 5
     director is individually liable separate and apart from Hollander’s liability pursuant RCW
 6
     49.46.010, which defines an “employer” who may be held liable for a failure to pay wages as
 7
     “includ[ing] any individual … or any person or group of persons acting directly or indirectly in
 8
     the interest of an employer in relation to an employee.”
 9
             The non-debtor Defendant’s liability in this case is defined by law as parallel with, not
10

11   derived from, the Debtor’s liability. The law does not define the liability as arising from the

12   officer’s/director’s relationship with the corporation or make the liability contingent upon a

13   finding that the corporation is liable.

14           None of the Defendant officers and directors is currently a debtor in a bankruptcy.

15   Hollander is in Chapter 11 bankruptcy in the Southern District of New York U.S. Bankruptcy
16   Court. On information and belief, the deadline for filing claims in that bankruptcy proceeding
17
     has expired.
18
             Attorney Beth E. Levine of the firm Pachulski, Stang, Ziehl & Jones, which represents
19
     the Plan Administrator of Hollander’s estate, alleges that Plaintiff in the present lawsuit has
20
     violated the Bankruptcy Court’s injunction by interfering with the Debtor’s estate’s assets
21
     because, according to Ms. Levine, the non-debtor Defendants in the present case have filed
22
     claims for indemnification from Debtor Hollander’s estate.
23

24           Plaintiff is currently consulting with a bankruptcy attorney to evaluate Ms. Levine’s

25   assertions. Specifically, Plaintiff is evaluating, among other issues, whether a claim interferes


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 1   with a Debtor’s estate where (1) the claim is against a non-debtor defendant, (2) the non-debtor

 2   defendant’s liability is defined by law as parallel with, not derived from, the Debtor’s liability,
 3   (3) the non-debtor defendant has a right of indemnification from the Debtor’s estate if the
 4
     defendant files a proper timely claim for indemnification, and (4) the non-debtor defendant
 5
     missing the deadline for filing claims in that bankruptcy proceeding.
 6
            Plaintiff will work to resolve the dispute with Hollander’s Plan Administrator as quickly
 7
     as possible. In the interim, Plaintiff believes that the present matter must be deemed as stayed
 8
     pursuant to the Bankruptcy Court’s injunction.
 9
            EXECUTED in Issaquah, Washington this June 29, 2022.
10

11                                                         /s/____John Barton____________
                                                           John G. Barton, WSBA No. 25323
12                                                         Attorney for Plaintiffs
                                                           1567 Highlands Dr NE Ste 110-34
13                                                         Issaquah, WA 98029-6245
                                                           (425) 243-7960
14                                                         TheBartonLawFirm@GMail.com

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 1                                  DECLARATION OF SERVICE

 2           I hereby certify under penalty of perjury under the laws of the State of Washington that
     on this date, I did not send this Notice of Stay of Proceedings Due to a Bankruptcy Court’s
 3   Injunction in a Non-Party Bankruptcy Matter to any other party as no defendant has appeared in
     this action.
 4

 5          EXECUTED at Issaquah, Washington this June 29, 20222021.

 6                                                       /s/______John Barton__________
                                                         John G. Barton, WSBA No. 25323
 7                                                       Attorney for Plaintiffs
                                                         1567 Highlands Dr NE Ste 110-34
 8                                                       Issaquah, WA 98029-6245
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